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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA

   DONALD J. TRUMP,

                      Plaintiff,

              v.                       Case No. 2:22-cv-14102-DMM

   HILLARY R. CLINTON, et al.,

                      Defendants.


              DEFENDANT NEUSTAR, INC.’S MOTION TO DISMISS
     PLAINTIFF’S AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
                 AND INCORPORATED MEMORANDUM OF LAW




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             Defendant Neustar, Inc. (“Neustar”), by and through its undersigned counsel, respectfully

   submits this Motion pursuant to Fed. R. Civ. P. 12(b)(6) and 21 to dismiss Counts II, IV, VII, VIII,

   IX, and XVI of the Amended Complaint as to it together with this accompanying memorandum of

   law. In support of this Motion, and in accordance with Fed. R. Civ. P. 10(c) and this Court’s

   Orders of June 23, 2022, DE 188, July 1, 2022, DE 200, and July 11, 2022, DE 216, Neustar

   incorporates its arguments in support of dismissal set forth in its Motion to Dismiss the original

   Complaint, DE 160, and the non-federal Defendants Joint Motion to Dismiss, DE 226, as if set

   forth fully herein. Pursuant to this Court’s July 11 Order, DE 216, Neustar submits this brief

   supplemental memorandum of law to address the issues unique to Neustar, an improperly named

   defendant.

                                                 ARGUMENT

   I.        NEUSTAR IS NOT A PROPER PARTY TO THIS LITIGATION

             Neustar is differently situated from the other Defendants in this action. Simply put, it is

   not a proper party. TransUnion, LLC (“TransUnion”) acquired Neustar’s marketing, fraud and

   communications solutions business in December, 2021. 1 See, e.g., Securities Purchase Agreement

   at Section 2.1, a copy of which is attached to Exhibit 2.1 to TransUnion’s Form 8-K filed on Sept.

   11, 2021; TransUnion’s Form 8-K filed on December 1, 2021; Neustar Security Services Spins

   Out       with   Focused   Investment    to    Foster   Accelerated   Growth     (Dec.   1,   2021),

   https://www.home.neustar/about-us/news-room/press-releases/2021/neustar-security-services-spi

   ns-out-with-focused-investment-to-foster-accelerated-growth.




         1
          This Court may take judicial notice of publicly available agency records. See, e.g., K.T. v.
   Royal Caribbean Cruises, Ltd., 931 F.3d 1041, 1047 (11th Cir. 2019).


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          TransUnion did not acquire Neustar’s security business, Neustar Security Services, LLC

   (“NSS”), which includes Domain Name System (“DNS”) resolution services, and was excluded

   from the transaction. NSS now operates as a standalone company. See DE 177 at ¶¶ 35-36. Each

   and every one of Plaintiff’s allegations in the Amended Complaint that refer to Neustar relate to

   the former security business, now known as NSS. See, e.g., DE 177 at ¶¶ 126, 140, 142-45. They

   do not relate to Neustar’s marketing, fraud and communications solutions business. Thus, to the

   extent Plaintiff can state any claims for relief (which he cannot), those claims should be asserted

   only against the newly added Defendant NSS, not Neustar.

          A.      The Amended Complaint is An Improper Shotgun Pleading as to Neustar

          Despite adding NSS as a defendant in this Amended Complaint, Plaintiff does not delineate

   between Neustar and NSS in it. Plaintiff instead refers to Neustar collectively with NSS as a single

   entity, identified as “Neustar,” while simultaneously averring that Neustar and NSS are separate

   entities. DE 177 at ¶¶ 35-36. As explained in the Joint Motion, DE 226, at Section III(G), the

   Amended Complaint is a shotgun pleading which this Court should dismiss with prejudice.

   Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1321 (11th Cir. 2015).

          Neustar cannot respond to Plaintiff’s allegations where Neustar and NSS cannot “discern

   what [Plaintiff] is claiming and frame a responsive pleading.” Weiland, 792 F.3d at 1320

   (quotation omitted). For example, Plaintiff alleges that Defendant Rodney Joffe “is a former

   executive of Neustar and, at all relevant times herein, was acting within the scope of his

   employment with Neustar.” DE 177 at ¶ 37. Similarly, Plaintiff alleges “Joffe, Neustar, and their

   associates queried their holdings of non-public internet data against a lengthy list of more than

   9,000 IP addresses, 3,000 internet domains, and 60 e-mail addresses and domains that related to

   Donald J. Trump, the Trump Organization, and numerous Trump Associates, in their search for



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   derogatory information.” DE 177 at ¶ 145. Neustar cannot respond to these allegations because

   it is impossible to determine which separate entity allegedly did what. See Sanchez Sifonte v.

   Fonseca, No. 21-CV-20543, 2021 WL 5086297, at *3 (S.D. Fla. Nov. 1, 2021) (dismissing the

   complaint because plaintiff “repeatedly allege[d] that all defendants engaged in certain conduct

   without distinguishing which of the more than 100 allegedly defamatory statements at issue is

   attributed to and was published by which defendant…”). This Court should therefore dismiss the

   Amended Complaint with prejudice.

          B.      This Court Should Drop Neustar as an Improper Party

          This Court also should exercise its inherent authority to drop Neustar from this action

   pursuant to Fed. R. Civ. P. 21. See also Lampliter Dinner Theater, Inc. v. Liberty Mut. Ins. Co.,

   792 F.2d 1036, 1045-46 (11th Cir. 1986) (stressing the “great discretion” district courts have when

   using Rule 21 to drop a party). “The decision of whether to drop a party from a case pursuant to

   Rule 21 is left to the sound discretion of the trial court.” Garcia v. Chapman, 911 F. Supp. 2d

   1222, 1245 (S.D. Fla. 2012) (citations omitted).

          Plaintiff here would not be prejudiced by dropping the improperly named party Neustar,

   particularly because Plaintiff has joined NSS as a defendant. See, e.g., Oginsky v. Paragon

   Properties of Costa Rica, LLC, 282 F.R.D. 681, 682–83 (S.D. Fla. 2012) (dropping misjoined

   parties and severing misjoined claims pursuant to Rule 21); Liberty Media Holdings, LLC v.

   BitTorrent Swarm, 277 F.R.D. 669, 672 (S.D. Fla. 2011) (ordering multiple defendants be

   dismissed pursuant to Rule 21).




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                                          CONCLUSION

          For all of the foregoing reasons and those set forth in the non-federal Defendants’ Joint

   Motion, DE 226, Neustar respectfully requests that this Court dismiss Plaintiff’s Amended

   Complaint as against Neustar, an improperly named party, with prejudice.

   Dated: July 14, 2022                        Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 14, 2022, I electronically filed the foregoing with the

   Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

   counsel of record.


                                                 /s/Jennifer Olmedo-Rodriguez
                                                 BUCHANAN INGERSOLL & ROONEY PC




   4890-1956-1767, v. 3
